      Case 4:19-cv-05021-RMP      ECF No. 40     filed 04/23/19   PageID.366 Page 1 of 6




 1 Geana M. Van Dessel, WSBA #35969
   KUTAK ROCK LLP
 2 502 W. Riverside Ave., Suite 800
   Spokane, WA 99201
 3 T: (509) 252-2691
 4 Justin Shur, admitted pro hac vice
   Lucas Walker, admitted pro hac vice
 5 Eric Nitz, admitted pro hac vice
   MOLOLAMKEN LLP
 6 600 New Hampshire Ave., NW
   Washington, DC 20037
 7 T: 202.556.2000
 8 Attorneys for Jorge Francisco Armijo
 9
                      UNITED STATES DISTRICT COURT
10                   EASTERN DISTRICT OF WASHINGTON
11   UNITED STATES OF AMERICA,
                                                 Case No. 4:19-CV-5021-RMP
12                                  Plaintiff,
           v.                                    UNOPPOSED MOTION FOR LEAVE
13                                               TO FILE EXHIBIT UNDER SEAL
     MISSION SUPPORT ALLIANCE,
14   LLC, LOCKHEED MARTIN                        Without Oral Argument
     SERVICES, INC., LOCKHEED                    May 23, 2019 at 6:30 p.m.
15   MARTIN CORPORATION, and
     JORGE FRANCISCO “FRANK”
16   ARMIJO,
17                             Defendants.
18
19
20
21

22
23
24
     UNOPPOSED MOTION FOR LEAVE                                         Kutak Rock LLP
     TO FILE UNDER SEAL - 1                                         510 W. Riverside Ave., Suite 800
                                                                           Spokane, WA 99201-0506
                                                                  (509) 747-4040; fax (509) 747-4545
      Case 4:19-cv-05021-RMP      ECF No. 40    filed 04/23/19   PageID.367 Page 2 of 6




 1                          UNOPPOSED MOTION TO SEAL

 2         Defendant Jorge Francisco “Frank” Armijo respectfully moves the Court for

 3 an Order sealing his 2011 Lockheed Martin Management Incentive Compensation
 4 Plan objectives and evaluation (“2011 MICP Objectives”), which is attached as
 5 Exhibit 1 to Mr. Armijo’s Declaration in support of his Motion to Dismiss and
 6 Motion to Seal. Prior to filing this Motion to Seal, undersigned counsel consulted
 7 with the government, which confirmed it does not oppose this Motion to Seal the
 8 2011 MICP Objectives, which contains sensitive, personal, confidential and
 9 proprietary information.
10                                     AUTHORITY

11         The Court may seal material filed in connection with a dispositive motion

12 upon a showing of compelling reasons. Kamakana v. City and Cty. of Honolulu, 447
13 F.3d 1172, 1178-79 (9th Cir. 2006) (“[A]ccess to judicial records is not absolute.”);
14 Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (“[T]he right to inspect
15 and copy judicial records is not absolute.”). see also Ctr. for Auto Safety v. Chrysler

16 Grp., LLC, 809 F.3d 1092, 1098-99 (9th Cir. 2016) (defining dispositive). The final
17 determination of what constitutes a “compelling reason” is “best left to the sound
18 discretion of the trial court.” Nixon, 435 U.S. at 599.
19         Here, compelling reasons exist to seal the 2011 MICP Objectives because it

20 contains proprietary information that could hurt Lockheed Martin competitively and
21 because it contains Mr. Armijo’s personal, confidential performance and

22 compensation-related details, which are exempt from public disclosure.
23
24
     UNOPPOSED MOTION FOR LEAVE                                        Kutak Rock LLP
     TO FILE UNDER SEAL - 2                                        510 W. Riverside Ave., Suite 800
                                                                          Spokane, WA 99201-0506
                                                                 (509) 747-4040; fax (509) 747-4545
      Case 4:19-cv-05021-RMP      ECF No. 40   filed 04/23/19   PageID.368 Page 3 of 6




 1         In Thoma v. City of Spokane, 2013 WL 12170313 (E.D. Wa. Dec. 18, 2013),

 2 the court held that “employment performance evaluations without instances of
 3 misconduct are exempt from public disclosure, and accordingly shall be filed under
 4 seal.” Id. at *1. In a separate order in that same case, the court sealed “two
 5 employment performance evaluations of Plaintiff” because “[p]rotecting a public
 6 employee’s personnel records, including otherwise-confidential performance
 7 evaluations, is a compelling interest.” Thoma v. City of Spokane, 2013 WL 1346988,
 8 at *3 (E.D. Wa. Apr. 3, 2013). Other district courts have reached similar conclusions.
 9 See e.g., Dynetix Design Solutions, Inc., 2013 WL 2285210, at *1 (N.D. Cal. May
10 23, 2013) (granting motion to seal because “[t]he personal performance review
11 contains sensitive personal information”); Shimozono v. May Dep’t Stores Co., 2002
12 WL 34373490, at *16 (C.D. Cal. Nov. 20, 2002) (“Performance Reviews will remain
13 sealed.”); Rich v. Shrader, 2013 WL 6190895, at *2 (S.D. Cal. Nov. 26, 2013)
14 (sealing warranted for documents that “contain[ed] internal partnership evaluations,
15 management expectations and performance reviews, financial information, as well

16 as company strategies to improve employee performance and experience”).
17         Likewise, compelling reasons exist to seal the 2011 MICP Objectives, which

18 is a confidential document maintained in Mr. Armijo’s human resources personnel
19 file at Lockheed Martin. Decl. Armijo at ¶ 3. It contains sensitive, personal
20 information, including Mr. Armijo’s employee identification number and an
21 evaluation of his 2011 performance with Lockheed Martin. Id. ¶4. Specifically, it is

22 a four-page, single-spaced document describing Mr. Armijo’s achievements in
23 multiple assessment categories that affected his compensation. Decl. Armijo, Ex. 1.
24
     UNOPPOSED MOTION FOR LEAVE                                       Kutak Rock LLP
     TO FILE UNDER SEAL - 3                                       510 W. Riverside Ave., Suite 800
                                                                         Spokane, WA 99201-0506
                                                                (509) 747-4040; fax (509) 747-4545
      Case 4:19-cv-05021-RMP      ECF No. 40   filed 04/23/19   PageID.369 Page 4 of 6




 1 And it has never been publicly disclosed. Decl. Armijo at ¶3. For these reasons, the
 2 Court should permit the sealing of the 2011 MICP Objectives.
 3         Additional compelling reasons exist to seal the 2011 MICP Objectives

 4 because it contains proprietary information that could give Lockheed Martin’s
 5 competitors an unfair advantage. Courts protect sources of business information that
 6 might harm a litigant’s competitive standing. Nixon, 435 U.S. at 598. In response to
 7 the government’s civil investigative demand in connection with this case, Lockheed
 8 Martin designated the 2011 MICP as “Confidential and Proprietary.” Decl. Armijo
 9 at ¶3. The 2011 MICP Objectives contain sensitive and proprietary Lockheed Martin
10 information. Id. ¶5. For example, it discusses numerous potential and realized
11 Lockheed Martin business opportunities as well as performance data and financials
12 for Lockheed Martin business components. Id. Redacting the document is not a
13 practical alternative to filing under seal because, as explained in Mr. Armijo’s
14 motion to dismiss, the content of the document—which is quoted in the Complaint
15 and is central to the Anti-Kickback Act claim asserted against Mr. Armijo – is

16 important to contrast against the Complaint’s allegations.
17                                    CONCLUSION

18         The Court should grant Mr. Armijo’s unopposed motion and seal the 2011

19 MICP Objectives to protect its confidential, personal and proprietary contents. If the
20 Court has any hesitation about granting this unopposed motion, Mr. Armijo requests
21 leave to file supplemental support from all Defendants to further explain and detail

22 the compelling reasons to seal, and asks the Court not to un-seal the 2011 MICP
23 Objectives.
24
     UNOPPOSED MOTION FOR LEAVE                                       Kutak Rock LLP
     TO FILE UNDER SEAL - 4                                       510 W. Riverside Ave., Suite 800
                                                                         Spokane, WA 99201-0506
                                                                (509) 747-4040; fax (509) 747-4545
      Case 4:19-cv-05021-RMP      ECF No. 40   filed 04/23/19   PageID.370 Page 5 of 6




 1        Dated this 23rd day of April 2019.

 2
                                          By: s/ Geana Van Dessel
 3                                        Geana M. Van Dessel, WSBA #35969
 4                                        KUTAK ROCK, LLP
                                          510 W. Riverside Ave., Ste. 800
 5                                        Spokane, WA 99201
                                          P: (509) 747-4040
 6                                        Geana.VanDessel@KutakRock.com
 7                                        By: s/ Justin Shur
 8                                        Justin Shur, admitted pro hac vice
                                          Lucas Walker, admitted pro hac vice
 9                                        Eric Nitz, admitted pro hac vice
                                          MOLOLAMKEN LLP
10                                        600 New Hampshire Ave., NW
                                          Washington, DC 20037
11                                        T: 202.556.2000
12                                        JShur@MoloLamken.com
                                          LWalker@MoloLamken.com
13                                        ENitz@MoloLamken.com

14                                        Attorneys for Jorge Francisco Armijo
15

16
17
18
19
20
21

22
23
24
     UNOPPOSED MOTION FOR LEAVE                                       Kutak Rock LLP
     TO FILE UNDER SEAL - 5                                       510 W. Riverside Ave., Suite 800
                                                                         Spokane, WA 99201-0506
                                                                (509) 747-4040; fax (509) 747-4545
      Case 4:19-cv-05021-RMP      ECF No. 40    filed 04/23/19   PageID.371 Page 6 of 6




 1                            CERTIFICATE OF SERVICE

 2         I hereby certify that on April 23, 2019, I caused the foregoing to be

 3 electronically filed with the Clerk of the Court using the CM/ECF System which in
 4 turn automatically generated a Notice of Electronic Filing (NEF) to all parties in the
 5 case who are registered users of the CM/ECF system. The NEF for the foregoing
 6 specifically identifies recipients of electronic notice.
 7
 8
 9
10                                          By: s/ Geana M. Van Dessel
11                                          Geana M. Van Dessel, WSBA #35969
                                            KUTAK ROCK, LLP
12                                          510 W. Riverside Ave., Ste. 800
                                            Spokane, WA 99201
13                                          P: (509) 747-4040
                                            Geana.VanDessel@KutakRock.com
14
15

16
17
18
19
20
21

22
23
24
     UNOPPOSED MOTION FOR LEAVE                                        Kutak Rock LLP
     TO FILE UNDER SEAL - 6                                        510 W. Riverside Ave., Suite 800
                                                                          Spokane, WA 99201-0506
                                                                 (509) 747-4040; fax (509) 747-4545
